Case 12-10602-CSS Doc1

B1 (Official Form 1) (12/11)

Filed 02/22/12 Page 1of9

 

UNITED STATES BANKRUPTCY COURT
District of Delaware

 

 

Name of Debtor (if

$

pavicual enter Last, First, Middle):

ewack. Valentine Jason

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec. or Individual-Taxpayer 1.D. (TINVComplete EIN
(if more than one, state all): b G 3g O

Last four digits of Soc. Sec. or Individual-Taxpayer I,D. (ITIN)/Complete EIN
(if more than one, state all):

 

Street Address of Debtor (No. and Street, City, and State):

Street Address of Joint Debtor (No. and Street, City, and State):

 

 

 

 

 

 

 

a

 

Fi iling Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court’s consideration. See Official Form 3B.

 

 

Zl Revelle ST
yew Castle De iP CODE 77] far CODE]
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
New Cagrle
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
[Zip CODE ] [ziP CODE |
Location of Principal Assets of Business Debtor (if different from street address above):
[zie CODE ]
Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
Os Health Care Business ie Chapter 7 [CJ Chapter 15 Petition for
a Individual (includes Joint Debtors) C Single Asset Real Estate as defined in Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101(51B) {J Chapter 11 Main Proceeding
1 Corporation (includes LLC and LLP) OsRailroad 10 Chapter 12 C1 Chapter 15 Petition for
C1 = Partnership ( — Stockbroker Os Chapter 13 Recognition of a Foreign
(] Other (If debtor is not one of the above entities, check | EJ Commodity Broker Nonmain Proceeding
this box and state type of entity below.) [C] Clearing Bank
C] Other
Chapter 15 Debtors Tax-Exempt Entity Nature of Debts
Country of debtor’s center of main interests: (Check box, if applicable.) (Check one box.)
Debts are primarily consumer [[] Debts are
CO) _ Debtor is a tax-exempt organization debts, defined in 11 U.S.C. primarily
Each country in which a foreign proceeding by, regarding, or under title 26 of the United States § 101(8) as “incurred by an business debts.
against debtor is pending: Code (the Internal Revenue Code), individual! primarily for a
personal, family, or
household purpose.”
Filing Fee (Check one box.) Chapter 11 Debtors
Check one box:
(Full Filing Fee attached. [) Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

(1 __ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D),

Check If: ,

C]  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
on 4/01/13 and every three years thereafter).

Check all applicable boxes:

A plan is being filed with this petition.

C1 Acceptances of the plan were solicited prepetition from one or more classes

of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR
COURT USE ONLY
oO Debtor estimates that funds will be available for distribution to unsecured creditors.
a” 4 Debtor estimates that, after any exempt property is excluded end administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.
ignated Number of Creditors
O 0 QO 0 CO O i) O
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001-
5,000 10,000 25,000 50,000 100,000
Estimated Assets
go O oO Oo Oo oO Oo Oo
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $00,000,001 — $500,000,001
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion
million million million million million
Estimated Liabilities
O Oo 0 oO O :
0 to $50,001 to — $100,001 to $500,001 $1,000,001 — $10,000,001 — $50,000,001 —$100,000,001 — $500,000,001 — More’than f
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion ‘Oo
million million million million million

 

 
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B1 (Official Form 1) (12/11) Page 2
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case.) :
All Prior Bankruptcy Cases Filed Within Last 8 Years (J{ more than two, attach additional sheet.)
Location ; Coe Ngmber Date Filed:
Where Filed:
Location . iled:
We ed: / \ ase ber: Date Filed:

 

Pending Bankruptcy Case Filed by any Spouse\Partyer, or

iliate of this Debtor (If more than one, attach additional sheet.)

 

 

 

 

(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)

(Exhibit A is attached and made a part of this petition.

Name of Debtor: C lumber: Date Filed:
District: / a + “ ave Judge:
— ,
Exhibit A Exhibit B

(To be completed if debtor is an individual
whose debts are primarily consumer debts.)

1, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
of title 11, United States Code, and have explained the relief available under each
such chapter, I further certify that I have delivered to the debtor the notice required
by 11 U.S.C, § 342(b).

xX

 

 

Signature of Attorney for Debtor(s) (Date)

 

wy Yes, and Exhibit C is attached and made a part of this petition.
Ol No.

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 

If this is a joint petition:

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

C7 Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

(J Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

 

oe

Information Regarding the Debtor - Venue
(Check any applicable box.)
Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

 

 

 

 

oO There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

Oo Debtor is a debtor ina foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
no Principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)
O Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)
(Name of landlord that obtained judgment)
(Address of landlord)

0 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the

entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

| Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing

of the petition.

O

Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 

 
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Bi (Official Form 1) (12/11) Page 3
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case.) Ve lentre J Essen Steere £ 4+
Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is true
and correct,

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

[Ifno attomey Tepresents me and no bankruptcy petition preparer signs the petition) |
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,

specified in this petition.
x AA bet

 

 

 

 

Signature of a Foreign Representative

1 declare under penalty of perjury that the information provided in this petition is true
and correct, that I am the foreign representative of a debtor in a foreign proceeding,
and that I am authorized to file this petition.

(Check only one box.)

CI request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C, § 1515 are attached.

(0 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

 

 

 

 

Signature of Attomey for. Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

Telephone Number

 

Date

*In a case in which § 707(bX4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.

 

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this petition is tue

and correct, and that I have been authorized to file this petition on behalf of the
jebtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

xX

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

: t xX
Signature Debtor (Signature of Foreign Representative)
X .
Signature of Joint Debtor i i i
(9/ip) BZ 1-131 Ss (Printed Name of Foreign Representative)
Telephgne Number (if not represented by attomey)
Zs 224 fhe Date
Date
Signature of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer
x I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as

defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if mules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section. Official Form 19 is
attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.SC. § 110.)

 

Address

 

Signature

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 1] and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 

 
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B 1D (Official Form 1, Exhibit D) (12/09)

UNITED STATES BANKRUPTCY COURT

In YZ, batinz Je Seow Stewar \ Case No.

Debtor (if known)

 

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities,

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D, Check one of the five statements below and attach
any documents as directed.

© 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

0 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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. Page 2
B 1D (Official Form 1, Exh. D) (12/09) — Cont.

LE certify that I requested credit counseling services from an approved agency but
was“unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here. ]

Je sToney,

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

© 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

C Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities.);

Disability, (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
exterff of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephone, or through the Internet.);

© Active military duty in a military combat zone.

1 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

I certify under penalty of perjury that the information provided above is true and

correct.
Signature of eid Ue

Date: Z
Case a heapass per by sies2rz2112 Page 6 of 9

VERIZON WIRELESS

VERIZON WIRELESS

VERIZON COMMUNICATION

UNIVERSITY OF PHOENIX

UNITED SVCS OF AMERICA

STASSINOS LAW OFFICES

SILVER STATE SCHOOLS C

PREMIER BANKCARD INC

PORTFOLIO RECVRYS&AFFIL

NELNET LNS

NATIONAL BUSINESS FACT

MK FINANCIAL SERVICES

MK AUTO INC

MEDICREDIT CORPORATION

G C SERVICES

FIRST PREMIER BANK

FINANCIAL NETWORK RECO”

15900 SE EASTGATE WAY
BELLEVUEWA 98008
3350:161ST AVE SE

BELLEVUEWA 98008
PO BOX 49

LAKELANDFL 33802
4615 E ELWOOD ST FL 3
PHOENIXAZ 85040.

PO BOX 26339
SAN DIEGOCA 92196

5150 SUNRISE BLVD STE B6
FAIR OAKSCA 95628

4221 S MCLEOD DR
LAS VEGASNV 89121

3820 N LOUISE AVE
SIOUX FALLSSD 67107

120 CORPORATE BLVD STE 1
NORFOLKVA 23502

PO BOX 1649
DENVERCO 80201

969 MICA DR
CARSON CITYNV 89705

5417 MADISON AVE STE 2
SACRAMENTOCA 95841

2301 ARDEN WAY
SACRAMENTOCA 95825

1801 CALIFORNIA AVE
CORONACA 92881

500 TECHNOLOGY DR STE 30
WELDON SPRINGMO 63304

6330 GULFTON ST STE 400
HOUSTONTX 77081.

601 S MINNESOTA AVE
SIOUX FALLSSD 57104

250'E EASY ST STE 1
SIMI. VALLEYCA 93065
Case 12-10602-CSS

FED LOAN SERV

DIVERSIFIED ADJUSTMENT

DISH NETWK

CREDIT PROTECTION ASSO

CREDCO AUTO

CRB

COUNTY OF ORANGE

CAP ONE

CALIFORNIA SERVICE BUR

AT&T WIRELESS

ACS/DEPT OF ED

AARGON AGENCY INC

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PO BOX 69184
HARRISBURGPA 17106

600:COON: RAPIDS BLVD NW
COON RAPIDSMN 55433

9601 S MERIDIAN BLVD
ENGLEWOODCO 80112

_ 13355 NOEL RD STE 2100
DALLASTX 75240
12395 FIRST AMERICAN WAY
POWAYCA 92064
5834 MONROE ST STE A142
SYLVANIAOH 43560.

801 W CIVIC CENTER DR ST
SANTA ANACA 92701

PO BOX 30281
SALT LAKE CITYUT 84130

100 WOOD HOLLOW DR #200
NOVATOCA 94945

2700 WATT AVE RM 2110
SACRAMENTOCA 95821

501 BLEECKER ST
UTICANY 13501

3025 W SAHARA AVE
LAS VEGASNV 89102
B6I (Official Form 61) (12/0%-ase 12-10602-CSS Doc1 Filed 02/22/12 Page 8 of9

In re \ aon Kaw \o.G08 Voile ¥ ’

Debtor

Case No.

 

(if known)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 

Debtor’s Marital DEPENDENTS OF DEBTOR AND SPOUSE

 

Status:

 

AGE(S):

 

S oale RELATIONSHIP(S):
Employment: DEBTOR

SPOUSE

 

Occupation

 

Name of Emptoyer

 

How tong emptoyed
Address of Employer

 

 

INCOME: (Estimate of average or projected monthly income at time
case filed)

_—

. Monthly gross wages, salary, and commissions
(Prorate if not paid monthly)
2. Estimate monthly overtime

3. SUBTOTAL

4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security
b. Insurance
c. Union dues
d. Other (Specify):

 

5. SUBTOTAL OF PAYROLL DEDUCTIONS
6. TOTAL NET MONTHLY TAKE HOME PAY

7. Regular income from operation of business or profession or farm
(Attach detailed statement)
. Income from real property
. Interest and dividends
0. Alimony, maintenance or support payments payable to the debtor for
the debtor’s use or that of dependents listed above
11. Social security or government assistance
(Specify):
12. Pension or retirement income
13. Other monthly income

(Specify):

14, SUBTOTAL OF LINES 7 THROUGH 13

moO

 

 

15. AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14)

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column
totals from line 15)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEBTOR SPOUSE
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$ §
$637.00 $
$ (437 CO $
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(Report also on Summary of Schedules and, if applicable,
on Statistical Summary of Certain Liabilities and Related Data)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

 

 
B6J (Official Form 6J) (1Z@Be 12-10602-CSS Doci1 Filed 02/22/12 Page 9of9

In re >
Debtor

Case No.

 

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income

allowed on Form22A or 22C.

[] Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures labeled “Spouse.”

1. Rent or home mortgage payment (include lot rented for mobile home)
a. Are real estate taxes included? Yes No
b. Is property insurance included? Yes No
2. Utilities: a. Electricity and heating fuel
b. Water and sewer
c. Telephone
d. Other

 

3. Home maintenance (repairs and upkeep)
4. Food
5. Clothing
6. Laundry and dry cleaning
7. Medical and dental expenses
8. Transportation (not including car payments)
9. Recreation, clubs and entertainment, newspapers, magazines, etc.
10.Charitable contributions
11 Insurance (not deducted from wages or included in home mortgage payments)
a, Homeowner’s or renter’s
b. Life
c. Health
d. Auto
¢. Other

 

12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify)
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto
b. Other
c. Other
14. Alimony, maintenance, and support paid to others
15. Payments for support of additional dependents not living at your home
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
17. Other

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)

 

 

 

 

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I
b. Average monthly expenses from Line 18 above
c. Monthly net income (a. minus b.)

 

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